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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                              )
                                                       )
                  Plaintiff,                           )
                                                       )
       v.                                              )       CRIMINAL NO. 04-30139-WDS
                                                       )
DOUGLAS E. FARMER,                                     )
                                                       )
               Defendant.                              )


                                  MEMORANDUM & ORDER

STIEHL, District Judge:

       This matter is before the Court on defendant’s second motion for reconsideration of his

Order of detention (Doc. 549), pursuant to 18 U.S.C. § 3145(b) of the Bail Reform Act. The

Court previously reviewed defendant’s first motion (Doc. 179) and denied it (Doc. 294). The

Court held a hearing and took the matter under advisement.

       In support of his renewed motion, defendant asserts that he has been held in detention for

approximately 21 months, and that when he waived his Speedy Trial rights he did not realize that

it would take this long to get to trial in this matter. He asserts that his incarceration does not

allow him access to a typewriter, to the outside, to any recreation, and that he needs medical

attention. He disputes that when he was arrested he had a firearm, and that he has convictions

that include violence. He asserts that his only prior convictions were for traffic violations. He

further asserts that he is not a flight risk because of the presence of his family and children in the

area. In addition, he has people willing to put up property as bond for him if he were to be

released. The defendant submitted several letters in support of his request for release on bond

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which the Court has considered.

                                             ANALYSIS

        Section 3145(b) provides:

                (b) Review of a detention order.– If a person is ordered detained by a
        magistrate judge, or by a person other than a judge of a court having original
        jurisdiction over the offense and other than a Federal appellate court, the person
        may file, with the court having original jurisdiction over the offense, a motion for
        revocation or amendment of the order. The motion shall be determined promptly.


        As the Court’s prior order determined, defendant waived his detention hearing (See Doc.

48) before Magistrate Judge Clifford J. Proud, and was ordered held without bond. (See Doc. #

51) .

        The Court has again reviewed the pretrial services report, the charges in the Indictment,

arguments of the defendant and the government, as well as the letters in support of defendant’s

motion. The Court’s review of the record supports the prior determination that defendant has a

long criminal history, which, despite his protests to the contrary, includes arrests for violence,

weapons and drug-related charges. Although defendant has not been convicted of a felony, there

is evidence to support the government’s position that at the time of his arrest the defendant was

found with a firearm. Defendant has an extensive history, on at least six separate occasions, of

failing to appear in court as required.

        The Supreme Court has held that the Bail Reform Act is constitutional because it

“carefully limits the circumstances under which detention may be sought to the most serious of

crimes.” United States v. Salerno, 481 U.S. 739, 747 (1987). The Court noted that under the Act

“liberty is the norm, and detention prior to trial or without trial is the carefully limited

exception.” Id. at 755.

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        18 U.S.C. § 3142(e) provides for detention (after a hearing held in accordance with

§ 3142(f)) if the judicial officer “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and

the community.”      In making this determination, § 3142(g) provides that the Court shall consider

and:

         take into account the available information concerning–
                 (1) The nature and circumstances of the offense charged, including
         whether the offense is a crime of violence. . . ;
                 (2) the weight of the evidence against the person;
                 (3) the history and characteristics of the of the person; including–
                         (A) the person’s character, physical and mental condition, family
                         ties, employment, financial resources, length of residence in the
                         community, community ties, past conduct, history relating to
                         drug or alcohol abuse, criminal history, and record concerning
                         appearance at court proceedings; . . .
                 (4) the nature and seriousness of the danger to any person or the
         community that would be posed by the person’s release. . . .

        It is the government’s burden to show by a preponderance of the evidence, pursuant to

§ 3142(f)(2), that there is a serious risk that the defendant will fail to appear for trial if he is not

detained. United States v. Portes, 786 F.2d 758, 765 (7th Cir. 1985). The Court FINDS that the

government has made an adequate showing of this in light of defendant’s prior, repeated history

of failing to appear as required.

        Risk of flight and danger to the community are “distinct statutory sources of authority to

detain.” United States v. Daniels, 772 F.2d 382, 383 (7th Cir.1985). Proof of one ground for

detaining a defendant “is quite enough,”making any discussion of the other ground “irrelevant.”

Id. In finding that there are no conditions or combinations of conditions which reasonably will

assure the defendant’s appearance and the safety of any other person and the community, the

court should considered all available alternatives. Among the alternatives which may be

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considered are: house arrest and a daily reporting scheme. The Court is not required to adopt

any of these options, and may weigh the gravity of the offense and the substantial penalties

which may possibly be imposed against the defendant.

       The Court notes that there are no new conditions or circumstances offered by defendant

in support of his motion. Although defendant has ties to the community and has been

incarcerated for some time awaiting trial, he nonetheless is alleged to have been the leader of a

very large drug distribution network that dealt in multiple kilograms of powder cocaine, cocaine

base and marijuana over an extended period of time. There simply are no grounds which would

support the release of the defendant at this time on bond.

                                         CONCLUSION

       Upon review of the entire record, the Court FINDS that defendant has not presented any

new grounds which persuaded the Court that it should reconsider its prior orders of detention in

this case, and the defendant’s second motion for reconsideration of bond is DENIED.

       IT IS SO ORDERED.

       DATED: August 14, 2006.



                                                     s/ WILLIAM D. STIEHL
                                                         DISTRICT JUDGE




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